USDC IN/ND case 3:11-cr-00078-JD-MGG                document 266         filed 10/12/12       page 1 of 7

 Defendant: ALICIA HITE                                                                         Page 1 of 7
 Case Number: 3:11cr78-003


                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF INDIANA

 UNITED STATES OF AMERICA
                  Plaintiff
 v.                                                      Case Number 3:11cr78-003

                                                         USM Number 11696-027
 ALICIA HITE
                             Defendant
                                                         DAVID A WEMHOFF
                                                         Defendant’s Attorney
 ___________________________________

                                   JUDGMENT IN A CRIMINAL CASE

 THE DEFENDANT pleaded guilty to count 1 of the Indictment on 2/8/2012.

 ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                             Date Offense             Count
             Title, Section & Nature of Offense                 Ended               Number(s)


  21:846 CONSPIRACY TO MANUFACTURE                          October 7, 2010               1
  CONTROLLED SUBSTANCE

 The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is
 imposed pursuant to the Sentencing Reform Act of 1984.

 IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30
 days of any change of name, residence, or mailing address until all fines, restitution, costs and
 special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant must notify the court and United States Attorney of any material change in economic
 circumstances.
                                                  October 10, 2012
                                                  Date of Imposition of Judgment

                                                  s/ Jon E. DeGuilio
                                                  Signature of Judge

                                                  Jon E. DeGuilio, United States District Judge
                                                  Name and Title of Judge

                                                  October 12, 2012
                                                  Date
USDC IN/ND case 3:11-cr-00078-JD-MGG                  document 266     filed 10/12/12     page 2 of 7

 Defendant: ALICIA HITE                                                                       Page 2 of 7
 Case Number: 3:11cr78-003


                                           IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons
 to be imprisoned for a total term of 108 months.

         The Court makes the following recommendations to the Bureau of Prisons: That the Bureau
 of Prisons designate as the place of the defendant's confinement, if such placement is consistent
 with the defendant's security classification as determined by the Bureau of Prisons, a facility where
 she may receive substance abuse evaluation and counseling, and in particular the RDAP program,
 as deemed necessary; a mental health evaluation and counseling; and that the defendant be
 placed in a facility as close as possible to her daughter and family in the Northern District of
 Indiana.


          The defendant is remanded to the custody of the United States Marshal.



                                               RETURN

 I have executed this judgment as follows:

          Defendant delivered                             to                         at
          , with a certified copy of this judgment.



                                                                       UNITED STATES MARSHAL


                                                          By:
                                                             DEPUTY UNITED STATES MARSHAL
USDC IN/ND case 3:11-cr-00078-JD-MGG                document 266        filed 10/12/12     page 3 of 7

 Defendant: ALICIA HITE                                                                        Page 3 of 7
 Case Number: 3:11cr78-003


                                     SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be on supervised release for a term of 4
 years.

 The defendant shall report in person to the probation office in the district to which the defendant is
 released within 72 hours of release from the custody of the Bureau of Prisons.

 The defendant shall not commit another federal, state or local crime.

 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
 from any unlawful use of a controlled substance.

 The defendant shall submit to one drug test within 15 days of release from imprisonment and two
 (2) periodic drug tests thereafter, as determined by the Court.

 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
 weapon.

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.
USDC IN/ND case 3:11-cr-00078-JD-MGG                  document 266        filed 10/12/12      page 4 of 7

 Defendant: ALICIA HITE                                                                          Page 4 of 7
 Case Number: 3:11cr78-003


                             STANDARD CONDITIONS OF SUPERVISION

 1.       The defendant shall not leave the judicial district without the permission of the Court or
          probation officer.
 2.       The defendant shall report to the probation officer in the manner and as frequently as
          directed by the Court or probation officer.
 3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the
          instructions of the probation officer.
 4.       The defendant shall support her dependents and meet other family responsibilities.
 5.       The defendant shall work regularly at a lawful occupation unless excused by the probation
          officer for schooling, training, or other acceptable reasons.
 6.       The defendant shall notify the probation officer within ten (10) days of any change in
          residence or employment.
 7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
          use, distribute, or administer any narcotic or other controlled substance, or any
          paraphernalia related to such substances, except as prescribed by a physician.
 8.       The defendant shall not frequent places where controlled substances are illegally sold,
          used, distributed, or administered.
 9.       The defendant shall not associate with any persons engaged in criminal activity, and shall
          not associate with any person convicted of a felony unless granted permission to do so by
          the probation officer.
 10.      The defendant shall permit a probation officer to visit him or her at any time at home or
          elsewhere and shall permit confiscation of any contraband observed in plain view by the
          probation officer.
 11.      The defendant shall notify the probation officer within seventy-two (72) hours of being
          arrested or questioned by a law enforcement officer.
 12.      The defendant shall not enter into any agreement to act as an informer or a special agent
          of a law enforcement agency without the permission of the Court.
 13.      As directed by the probation officer, the defendant shall notify third parties of risks that may
          be occasioned by the defendant’s criminal record or personal history or characteristics, and
          shall permit the probation officer to make such notifications and to confirm the defendant’s
          compliance with such notification requirement.
 14.      The defendant shall pay the special assessment imposed or adhere to a court-ordered
          installment schedule for the payment of the special assessment.
 15.      The defendant shall notify the probation officer of any material change in the defendant’s
          economic circumstances that might affect the defendant’s ability to pay any unpaid amount
          of restitution, fines, or special assessments.
USDC IN/ND case 3:11-cr-00078-JD-MGG               document 266        filed 10/12/12     page 5 of 7

 Defendant: ALICIA HITE                                                                      Page 5 of 7
 Case Number: 3:11cr78-003




                             SPECIAL CONDITIONS OF SUPERVISION

 The defendant shall participate in a mental health treatment program and shall abide by all program
 requirements and restrictions. The defendant shall pay all or part of the costs for participation in
 the program not to exceed the sliding fee scale as established by the Department of Health and
 Human Services and adopted by this court.
USDC IN/ND case 3:11-cr-00078-JD-MGG             document 266        filed 10/12/12    page 6 of 7

 Defendant: ALICIA HITE                                                                   Page 6 of 7
 Case Number: 3:11cr78-003


                              CRIMINAL MONETARY PENALTIES


        The defendant shall pay the following total criminal monetary penalties in accordance with
 the schedule of payments set forth in this judgment.

         Total Assessment                   Total Fine                  Total Restitution
                $100.00                       NONE                            NONE

         The defendant shall make the special assessment payment payable to Clerk, U.S. District
 Court, 102 Robert A. Grant Courthouse, 204 South Main Street, South Bend, IN 46601. The
 special assessment payment shall be due immediately.

                                              FINE

          No fine imposed.

                                         RESTITUTION

          No restitution was ordered.
USDC IN/ND case 3:11-cr-00078-JD-MGG               document 266        filed 10/12/12    page 7 of 7

 Defendant: ALICIA HITE                                                                     Page 7 of 7
 Case Number: 3:11cr78-003


                                                                      Name:      ALICIA HITE

                                                                 Docket No.:     3:11cr78-003


                             ACKNOWLEDGMENT OF SUPERVISION CONDITIONS


         Upon a finding of a violation of probation or supervised release, I understand that the
 Court may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the
 conditions of supervision.

         I have reviewed the Judgment and Commitment Order in my case and the supervision
 conditions therein. These conditions have been read to me. I fully understand the conditions
 and have been provided a copy of them.


          (Signed)
                 ____________________________________              __________________
                   Defendant                                              Date


                    ____________________________________           __________________
                     U.S. Probation Officer/Designated Witness            Date
